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                         IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

EMILY GILBY; TEXAS DEMOCRATIC
PARTY; DSCC; DCCC; and TERRELL
BLODGETT,

        Plaintiffs,

v.
                                                             CIVIL ACTION NO. 1:19-cv-01063
RUTH HUGHS, in her official capacity as
the Texas Secretary of State,

        Defendant.


            THE TEXAS SECRETARY OF STATE’S OPPOSED MOTION FOR
                 RECONSIDERATION, OR IN THE ALTERNATIVE,
                   FOR CERTIFICATION OR CLARIFICATION

        In granting Plaintiffs’ motion to compel, the Court affirmed the applicability of the legislative

privilege but ruled that only legislators have standing to assert legislative privilege. However, many of

the legislators whose communications are implicated by the over 500 documents withheld by the

Secretary of State have in fact invoked legislative privilege in this very litigation. Additionally, Secretary

Hughs does not conflate legislative privilege with its assertions of deliberative process privilege, as her

response to Plaintiffs’ motion to compel cited to a later opinion from the Texas v. Holder case than the

one referenced by the Court in its Order on that point. Therefore, Secretary Hughs respectfully

requests that the Court reconsider its Order as to those documents in the possession of the Secretary

of State. See ECF 96. In the alternative, Secretary Hughs requests that the Court clarify which

documents she must produce.

                                          BACKGROUND

        During the course of discovery, Secretary Hughs produced tens of thousands of pages of

documents to Plaintiffs. The Secretary withheld from production a small number of documents,
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totaling approximately 500, and provided Plaintiffs a privilege log that asserted legislative privilege and

the deliberative process privilege. Those assertions of privilege were based on established precedent,

including a decision from a unanimous three-judge panel of the United States District Court for the

District of Columbia in a case involving the State of Texas. Texas v. Holder, No. 12-128, 2012 WL

13070060, at *4 (D.D.C. June 5, 2012) (“Texas v. Holder I”) (Ex. 1). Writing for the unanimous court,

Judge Tatel held that a “legislator’s request for information to a State agency regarding pending

legislation is subject to the legislative privilege and need not be produced.” Id. Indeed, in an order

issued two days later, the unanimous three-judge panel expressly rejected the argument that the

“legislative privilege has no application to documents in the possession of executive agencies.” Texas

v. Holder, No. 12-128, 2012 WL 13070113, at *1 (D.D.C. June 7, 2012) (“Texas v. Holder II”) (Ex. 2).

        In this case, Plaintiffs filed a motion to compel that did not contest the existence of legislative

privilege. ECF 82. Instead, they argued the documents at issue were “relevant and critical” and that

the Secretary had “no standing to assert the legislative privilege.” Id. at 3, 4.

         The Court issued its Order on July 10, 2020. ECF 96. After confirming that legislative

privilege extends to Texas Legislators and their staff, the Court ruled that it “need not address whether

legislative privilege applies to a legislator’s request for information from a State agency regarding

pending legislation because the Secretary has no standing to assert legislative privilege.” Id. at 6. That

holding disposed of Secretary Hughs’s claims of both legislative privilege and deliberative process

privilege. Id. at 4, 6. And that holding vitiated the need for any further analysis by the Court.

                                         ARGUMENT

        Secretary Hughs seeks reconsideration or clarification of the Court’s order for two reasons.

        1. Within the subset of documents withheld by the Secretary are communications from

legislative offices seeking information from the Secretary of State about pending legislation. And while

the Court has ruled that the privilege is personal to the legislator and not Secretary Hughs, requiring


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the production of privileged materials held by Secretary Hughs would violate the privilege as it applies

to “legislator’s request for information to a state agency regarding pending legislation.” Texas v. Holder

I, 2012 WL 13070060, at *4 (Ex. 1). In fact, in the same way that an attorney can withhold documents

in his or her position based on the attorney-client privilege personal to the client, an agency responding

to a legislator’s request must be allowed to withhold documents on behalf of the legislator. The Court

acknowledged that only the legislator may waive the privilege. But requiring Secretary Hughs to

produce the documents would effectively destroy a privilege that the holder has not waived.

        Moreover, many of the legislators whose communications are implicated by Plaintiffs’ requests

have already invoked legislative privilege on communications related to HB 1888 in this litigation. See

ECF 43. Those legislators include Representative Bonnen and Senator Huffman who were either

deposed or received document subpoenas during the discovery period. 1 Without a doubt, these

legislators have standing to assert legislative privilege and have already done so in this litigation.

Further, correspondence from other legislators who have not previously been subpoenaed in this case

and may wish to assert legislative privilege as to those documents are part of the subset of unproduced

materials impacted by this Courts’ order. Thus, even if Secretary Hughs does not have standing, must

she still produce documents in the face of an invocation of legislative privilege by the legislator? The

answer must be no.

        The order in Perez v. Perry, No. SA-11-CV-360, 2014 WL 106927, at *1 (W.D. Tex. Jan. 8,

2014), does not support a different conclusion because it did not address the same question that is

now before the Court. There, the court addressed a blanket assertion of legislative privilege by Texas

to prevent the deposition of any legislator before the depositions even began. Id. The court ordered




1Counsel for the Secretary has also reached out to Representative Goldman and Representative Guillen.
Representative Goldman has asserted the legislative privilege. At the time of filing, it was unclear whether
Representative Guillen wished to assert the legislative privilege.


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that the depositions could proceed, but it safeguarded the legislative privilege by instructing that

legislators could invoke the privilege in response to specific questions. Id.

        In this case, the specific questions have been asked. Secretary Hughs knows which documents

are responsive to Plaintiffs’ requests for production, and she has withheld the documents that would

otherwise waive those legislators’ privilege. Secretary Hughs should not be required to produce those

documents. In the alternative, the Court should allow those individual legislators the opportunity to

assert legislative privilege over the documents in Secretary Hughs’s possession.

        2. As for Secretary Hughs’s claim of deliberative process privilege, Secretary Hughs cited the

June 7, 2012 order from the three-judge panel in Texas v. Holder II in support of her assertion. See ECF

88 at 4–5 (citing Texas v. Holder II, 2012 WL 13070113, at *2 (Ex. 2)). This is a different order than the

June 5, 2012 order that this Court distinguished on this point in its Order granting Plaintiffs’ motion

to compel. See ECF 96 (citing Texas v. Holder I, 2012 WL 13070060, at *4 (Ex. 1)). Secretary Hughs

does not conflate the analysis of legislative privilege in Texas v. Holder I—the June 5, 2012 order—with

an assertion of deliberative process privilege. Instead, Secretary Hughs cites Judge Tatel’s analysis of

the deliberative process privilege in Texas v. Holder II—the three-judge panel’s later June 7, 2012 order.

The court in that order ruled that the deliberative process privilege applied to an agency’s pre-

decisional internal communications even when the agency action being discussed was not the central

issue in the case. Texas v. Holder II, 2012 WL 13070113, at *3 (Ex. 2).

        Here, Secretary Hughs claims deliberative process privilege not on communications leading

up to a decision about whether to pass legislation, as she, of course, does not pass legislation. Instead,

she is claiming deliberative process privilege on documents leading up to other actions that she is

statutorily authorized to take, such as providing guidance to counties on how to implement statutes

and serving as an informational resource to Texas Legislators. See ECF 88. Those internal discussions

on what advice and information to ultimately provide “would be seriously undermined if agencies


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were forced to” have such discussions “in a fishbowl.” Wolfe v. Dep’t of Health & Human Servs., 839

F.2d 768, 773 (D.C. Cir. 1988) (en banc). Candid discussions on such issues are needed for the agency

to operate most efficiently.

                                        CONCLUSION

        Secretary Hughs requests that the Court reconsider its ruling that she lacks standing to assert

legislative privilege to withhold specific documents responsive to Plaintiffs’ requests. She also requests

that the Court reconsider that she cannot assert deliberative process privilege on decisions other than

whether to pass the legislation challenged in this litigation. If the Court is unwilling, Secretary Hughs

requests that it certify those questions for interlocutory appeal pursuant to 28 U.S.C. § 1292(b). In the

alternative, Secretary Hughs asks the Court to clarify whether she must produce the requested

documents even in light of the legislators’ invocation of legislative privilege.




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Date: July 17, 2020                           Respectfully submitted.

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                                 CERTIFICATE OF CONFERENCE

       I certify that on July 15, 2020, I conferred with counsel for Plaintiffs about the foregoing
motion and that Plaintiffs are opposed.

                                              /s/ Patrick K. Sweeten
                                              PATRICK K. SWEETEN



                                    CERTIFICATE OF SERVICE

     I certify that a true and accurate copy of the foregoing document was filed electronically (via
CM/ECF) on July 17, 2020, and that all counsel of record were served by CM/ECF.

                                              /s/ Patrick K. Sweeten
                                              PATRICK K. SWEETEN




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